Filed 06/02/19                                                  Case 18-25700                                                                     Doc 33
                                                  United States Bankruptcy Court
                                                 Eastern District of California
    In re:                                                                                                     Case No. 18-25700-C
    Jonnell Deen-Chase                                                                                         Chapter 13
             Debtor
                                                     CERTIFICATE OF NOTICE
    District/off: 0972-2                  User: tsef                         Page 1 of 1                          Date Rcvd: May 31, 2019
                                          Form ID: trc                       Total Noticed: 1

    Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
    Jun 02, 2019.
      NO NOTICES MAILED.

    Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
    22606515       +E-mail/Text: bkteam@selenefinance.com Jun 01 2019 04:33:00     MTGLQ INVESTORS, L.P.,
                     C/O Selene Finance, LP,   9990 Richmond Ave.,   Suite 400 South,   Houston TX 77042-4546
                                                                                                TOTAL: 1

                 ***** BYPASSED RECIPIENTS *****
    NONE.                                                                                                               TOTAL: 0

    Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
    USPS regulations require that automation-compatible mail display the correct ZIP.

    Transmission times for electronic delivery are Eastern Time zone.


    I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
    shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
    Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
    Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
    by the bankruptcy rules and the Judiciary’s privacy policies.
    Date: Jun 02, 2019                                            Signature: /s/Joseph Speetjens

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                                          CM/ECF NOTICE OF ELECTRONIC FILING

    The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
    system on May 31, 2019 at the address(es) listed below:
    NONE.                                                                                       TOTAL: 0
Filed 06/02/19                                                    Case 18-25700                                                                         Doc 33


       2100 B (12/15)


                                                    United States Bankruptcy Court                                                     FILED
                                                            Eastern District of California                                         05/31/2019
                                                             _w_w_w_._c_a_e_b_._u_s_c_o_u_r_t_s_._g_o_v               UNITED STATES BANKRUPTCY COURT
                                                                                                                       EASTERN DISTRICT OF CALIFORNIA



                                                                                    Case No.: 18-25700

       Debtor Name(s) and Address(es)

       Jonnell Deen-Chase
       8431 Dartford Drive
       Sacramento CA 95823


                                                    NOTICE OF INTENT TO TRANSFER CLAIM

              The claim(s) listed below was/were filed or deemed filed in this case under 11 U.S.C. §
       1111(a) by the alleged transferor(s). On 05/31/2019, a document was filed in the Office of the Clerk
       as evidence of the transfer of this/these claim(s) to the transferee named below.

       Name and Address of Alleged Transferor(s):                                   Name and Address of Transferee:
       Claim No. 4: MTGLQ INVESTORS, L.P., C/O Selene                               U.S. Bank Trust National Association
       Finance, LP, 9990 Richmond Ave., Suite 400 South,                            c/o SN Servicing Corporation
       Houston TX 77042                                                             323 Fifth St
                                                                                    Eureka CA 95501




              NOTICE IS HEREBY GIVEN that the alleged transferor of this claim has twenty-one (21) days
       from the date of this notice to object to the transfer of the claim. If you agree with the transfer of the
       claim, you need to do nothing. The above-named transferee will be substituted for you in the claims
       register and other records of the court WITHOUT FURTHER NOTICE and will be entitled to receive
       any dividend/distributions which remain to be paid in this case. If, however, you disagree with the
       transfer of this claim, within 21 days of the date of this notice you must file with the appropriate
       divisional Office of the Clerk and serve upon the transferee and his/her attorney, if any, a Notice of
       Objection to the assignment/transfer of the claim setting forth the grounds for objection, together with
       a Notice of Hearing thereon with date and time filled in. Hearings are to be set at an appropriate time
       on a Law and Motion day in the appropriate department. Self set calendar procedures and available
       hearing dates are posted under Court Calendars on the Court’s website (_      w_w_
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       Date:     06/02/19                                                                For the Court
                                                                                         Wayne Blackwelder, Clerk




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           2500 Tulare Street, Suite 2501                     501 I Street, Suite 3-200                         1200 I Street, Suite 4
              Fresno, CA 93721-1328                           Sacramento, CA 95814                               Modesto, CA 95354
                  (559) 499-5800                                  (916) 930-4400                                  (209) 521-5160
